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         EXHIBIT
            A
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 In re Terrorist Attacks on September 11, 2001     03 MDL 1570 (GBD) (SN)
                                                   ECF Case



This document relates to:

______________________________

                             NOTICE TO CONFORM TO
                        CONSOLIDATED AMENDED COMPLAINT
       Plaintiffs in the previously filed case styled as ________________________________

__________________________________ file this Notice to Conform to Lead Plaintiffs’

Consolidated Amended Complaint as to the Kingdom of Saudi Arabia (“Kingdom” or “Saudi

Arabia”) and the Saudi High Commission for Relief of Bosnia & Herzegovina (“the SHC”), ECF

No.______, as permitted and approved by the Court’s Order of April ___, 2017, ECF No. ______.

       Upon filing of this Notice to Conform, plaintiffs’ underlying Complaint, ECF No. ____, is

deemed amended to include the factual allegations, jurisdictional allegations, and jury trial demand

of the Consolidated Amended Complaint, as well as all causes of action specified below. The

amendment affected through this Notice to Conform supplements by incorporation into, but does

not displace, plaintiffs’ underlying Complaint. This Notice to Conform relates solely to Saudi

Arabia and the SHC, and does not apply to any other defendant, as to which plaintiffs’ underlying

Complaint and any amendments thereto are controlling.

VENUE

       1.      Plaintiffs’ case is part of the multi-district proceeding In Re: Terrorist Attacks on

September 11, 2001, 03 MDL 1570 (GBD) (SN), established by the Judicial Panel on Multi-
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District Litigation for coordinated or consolidated pre-trial proceedings in the United States

District Court for the Southern District of New York.

IDENTIFICATION OF PLAINTIFFS

       2.       Plaintiffs filing this Notice to Conform are identified in their underlying Complaint,

ECF No. ____, which are incorporated herein by reference.

       3.       Plaintiffs have described their particular injuries and the nexus between those

injuries and the September 11th attacks in their underlying Complaint which allegations are

incorporated herein by reference.

CAUSES OF ACTION

       4.       Plaintiffs hereby adopt and incorporate herein by reference the following causes of

action set forth in the Lead plaintiffs’ Consolidated Amended Complaint in the multi-district

litigation proceeding entitled In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570

(GBD) (SN) (check all that apply):

            տ      COUNT I – Aiding and Abetting and Conspiring with Al Qaeda
                   to Commit the September 11th Attacks upon the United States in
                   violation of 18 U.S.C. §2333(d)(JASTA).

            ‫܆‬      COUNT II – Aiding and Abetting and Conspiring with Al Qaeda
                   to Commit the September 11th Attacks Upon the United States
                   in Violation of 18 U.S.C. §2333(a).

            ‫܆‬      COUNT III – Committing Acts of International Terrorism In
                   Violation of 18 U.S.C. §2333

            ‫܆‬      COUNT IV – Wrongful Death

            ‫܆‬      COUNT V – Survival

            ‫܆‬      COUNT VI – Alien Tort Claims Act

            ‫܆‬      COUNT VII – Assault and Battery


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           ‫܆‬       COUNT VIII – Conspiracy

           ‫܆‬       COUNT IX – Aiding and Abetting

           ‫܆‬       COUNT X – Intentional Infliction of Emotional Distress

           N/A     COUNT XI – (Inadvertently Omitted)

           ‫܆‬       COUNT XII – Liability Pursuant to Restatement (Second) of
                   Torts §317 and Restatement (Third) of Agency §7.05:
                   Supervising Employees and Agents

           ‫܆‬       COUNT XIII – Liability Pursuant to Restatement (Second) of
                   Torts §317 and Restatement (Third) of Agency §7.05: Hiring,
                   Selecting, and Retaining Employees and Agents

           ‫܆‬       COUNT XIV – 18 U.S.C. §1962(a)-(d)-CIVIL RICO

           ‫܆‬       COUNT XV – Trespass

           ‫܆‬       COUNT XVI – Violations of International Law

       Plaintiffs’ constituent case shall be deemed subject to any motion to dismiss the

Consolidated Amended Complaint or Answer to the Consolidated Amended Complaint filed by

Saudi Arabia or the SHC. By way of filing this Notice, plaintiffs shall not be deemed to have

adopted any class-action allegations set forth in the Consolidated Amended Complaint or waived

any right to object to class certification or opt out of any certified class. This Notice also does not

serve as a request for exclusion from any class that the Court may certify.



Dated this ____ day of ________ 2017.

                                               Respectfully submitted,



                                               ________________________________

                                               COUNSEL FOR PLAINTIFFS


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